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                  EXHIBIT B-090
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                    IN THE SUPERIOR COURT OF FULTON COUNTY ,---------
                                                                                    FILED IN OFFICE
                                     STATE OF GEORGIA


IN RE:                                        )                                   IL _ _:'.l
                                                                                   DCPUT{              COURT
                                                                                                     _._A
                                                                                                        _ __,
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
In the Matter of Witness                      )       Judge Robert C. I. McBurncy
Willie Lewis Floyd III                        )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant

to the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

        1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Lindsey Olin Graham, born July 9,

     1955, (hereinafter, "the Witness") is a necessary and material witness to the Special

    Purpose Grand Jury investigation. The Court further finds that the Witness currently

    resides at 414 SOUTH CAPITOL ST SE WASHINGTON DC 20003.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness made at least two

    telephone calls to Georgia Secretary of State Brad Raffensperger and members of his

    staff in the weeks following the November 2020 election in Georgia. During the

    telephone calls, the Witness questioned Secretary Raffensperger and his staff about

    reexamining certain absentee ballots cast in Georgia in order to explore the possibility

    of a more favorable outcome for former President Donald Trump. The Witness also

    made reference to allegations of widespread voter fraud in the November 2020

    election in Georgia, consistent with public statements made by known affiliates of the

    Trump Campaign.
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 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on the

    substance and timing of the telephone calls he personally made to Georgia Secretary

    of State Brad Raffensperger, is a necessary and material witness in this investigation.

    The Witness possesses unique knowledge concerning the substance of the telephone

    calls, the circumstances surrounding his decision to make the telephone calls, the

    logistics of setting up the telephone calls, and any communications between himself,

    others involved in the planning and execution of the telephone.calls, the Trump

    Campaign, and other known and unknown individuals involved in the multi-state,

    coordinated efforts to influence the results of the November 2020 election in Georgia

    and elsewhere. Finally, the Witness's anticipated testimony is essential in that it is

    likely to reveal additional sources of information regarding the subject of this

    investigation.

 6. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 7. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 28, 2022, at 9:00 a.m., at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

 8. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to
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    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 9. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.

 10. The State of Georgia is a participant in a reciprocal program providing for the

    securing of witnesses to testify in foreign jurisdictions which likewise provide for

    such methods of securing witnesses to testify in their courts.
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       11. This Certificate is made for the purpose of being presented to a judge Circuit Court

           for Prince George's County, Seventh Judicial Circuit, Maryland, by the State's

           Attorney for Prince George's County or her duly authorized representative, who is

           proceeding at the request and on behalf of the Office of the Fulton County District

           Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,               j

       This the L          day of September, 2022.




                                                      Ion.                    urncy
                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
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                     Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURJPOSE
        GRANDJURY

               OJRDER APPROVING REQUEST FOR SPECIAL PURIPOSE
                GRAND JURY PURSUANT TO O.C.G.A. §15-12-100,et seg.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Cou1t of Fulton Cowity a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. § 15-12-I00(b).

       IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge dete1mines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       Pursuant to O.C.G.A. § 15-12-10!(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjnry(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.




                                                 S. BRASHER,          EF JUDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
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                        Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-101 Filed 08/21/23 Page 11 of 12



                      OFFICEOF THE FULTONCOUNTYDISTRICTATTORNEY
                                 ATLANTAJUDICIALCIRCUIT
                              136PRYORSTREETSW,3RDFLOOR
                                  ATLANTA,GEORGIA30303
~Cf   Ill Jl((J}f,f&J                                       TELEPHONE404-612-4639
DistrictAttorney


                                                                             tD'l'l·- EX- DODD/1
      The Honorable ChristopherS. Brasher
      ChiefJudge, Fulton County SuperiorCourt                                 FILED IN OFFICE
      FultonCounty Courthouse                                                                        J)
          I                     •
      185Central Avenue SW, Suite T-8905
      Atlanta,Georgia30303

       January20, 2022

       Dear ChiefJudge Brasher:

      I hope this letter finds you well and in good spirits.Pleasebe advisedthat the DistrictAttorney's
      Officehas received informationindicatinga reasonableprobabilitythat the State of Georgia's
      admiriistrationof elections in 2020, includingthe State's electionof the Presidentof the United
            1
      States, was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
      associatedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
      mattei, includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral,and the United
      States1Attomey'sOffice for the NorthernDistrictof Georgia,leavingthis office as the sole
      agencywith jurisdiction that is not a potentialwitnessto conductrelatedto the matter.AJJa
      result,fourofficehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      Wehave made efforts to interviewmultiplewitnessesand gatherevidence,and a significant
      numberof witnesses and prospectivewitnesseshaverefusedto cooperatewith the investigation
      absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
      Bradia:ffensperger, an essentialwitnessto the investigation,has indicatedthat he will not
      participate
             1
                 in an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
      my office. Please see Exhibit A, attachedto this letter.

      Theref9re,I am hereby requesting,as the electedDistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A,§ 15-12-100et. seq., that a special purposegrandjury be impaneledfor the purpose
      ofinve~tigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possible attemptsto
      disrupt~elawful administrationof the 2020 electionsin the State of Georgia. Specifically,a
      speciall?urposegrandjury, which will not have the authorityto return an indictmentbut may
      makerepommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
      reasons:,first, a special purpose grandjury can be impaneledby the Court for any time period
      required.inorder to accomplishits investigation,whichwill likelyexceed a nonnal grandjury
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        tenn; second,the special purpose grandjury wouldbe empoweredto reviewthis matterand this
        matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
        circurilstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attemptto
        addr~ssthis matter in addition to their normalduties.

        Addi\ionally,I am requesting that, pursuantto 0.C.G.A. § 15-12-101,a Fulton CountySuperior
        CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
        inves\igationand duties.

        I have attacheda proposed order impanelingthespecialpurposegrandjury for the consideration
        ofthe:Court.

   ~spectful~,               /

        ¼-+-..,\
<F~li
 '--E11strict Attorney,Atlanta Judicial Circuit

        Exhibi\A: Transcriptof October 31,202 I episodeof 1\tfeetthe Press on NBC News at 26:04
        (videoarchivedat https://www.youtube.com/watch?v-=B7I   cBRPgt9k)
        Exhlbit,B:Proposed Order

    cc:
    The HonorableKimberly M. EsmondAdams
    TheHonorableJane C. Barwick
    The Ho~orableRachelle Camesdale
    Toe HonorableThomas A. Cox, Jr.
    TheHonorableEric Dunaway
    The HonorableCharles M. Eaton, Jr.
    The HonorableBelinda E. Edwards
    The HonorableKelly Lee Ellerbe
    TheHon~rableKevin M. Farmer
    TheHonorableUral Glanville
                I
    The Hon9rableShakura L. Ingram
    The HonqrableRachel R. I<Iause
    The Honqrab!eMelynee Leftridge
    The HonqrableRobert C.I. 'NicBumey
    The HonqrableHenry M. Newkirk
    The Hono~ableEmily K. Richardson
    The Hono~ableCraig L. Schwall, Sr.
    The Honofable Paige Reese Whitaker
    The HonorableSherrnelaJ. Williams
    FultonCounty Clerk of Superior Court Cathelene"Tina" Robinson
